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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

BOKF, N.A., as Indenture Trustee,
                                )
                                )
     Plaintiff,                 )
                                )
vs.                             )                     Civil Action No. 21-00028-KD-B
                                )
BAMA OAKS RETIREMENT, LLC,      )
SAINT SIMONS HEALTH CARE, LLC,  )
and MEDICAL CLINIC BOARD OF THE )
CITY OF MOBILE (SECOND),        )
                                )
     Defendants.                )

                                             ORDER

        This action is before the Court on the Motion to Approve Compensation for Services

Rendered and Expenses Incurred as Counsel to Receiver from July 1, 2021, through July 31,

2021 filed by Waller Lansden Dortch & Davis LLP (doc. 79). Waller seeks approval of

compensation in the amount of $8,708.00 plus expenses in the amount of $789.82 for a total of

$9,497.82 (Id., p. 5).1

        Waller asserts that the compensation and reimbursement requested is reasonable and

incurred for services necessary to the Receiver’s performance and exercise of his duties and

responsibilities. In support, Waller cites to certain provisions in the Order appointing the

Receiver (doc. 42, ¶¶ 8, 19, 36). Waller also provides time records which describe the services

provided; identify the attorney performing the services, the time expended by that attorney, and



        1
          The services performed and expenses incurred during the month of June 2021 were
allocated between the Receivership for the Assisted Living Facility (Civil Action No. 21-00028-
KD-B) and the Receivership for the Independent Living Facility (Civil Action No. 21-00029-
KD-B), with the former incurring 70% of the attorney fees and expenses and the latter incurring
30% of same.
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the hourly rate; the total fees., and the expenses incurred (Exhibit A to the Motion).

       The thirty (30) day period for objection has passed (doc. 42, ¶ 36). To date, no objection

has been filed.

       Upon consideration of the Motion/Fee Application, the time records, the Order

appointing the Receiver, and the absence of any objection, the Motion (doc. 79) is GRANTED.

Accordingly, the Fee Application is approved, and the Receiver is directed to pay, without

further court order and at such times as the Receiver determines in his discretion that funds are

available, the compensation requested.

       DONE and ORDERED this the 23rd day of September 2021.


                                              s/ Kristi K. DuBose
                                              KRISTI K. DuBOSE
                                              CHIEF UNITED STATES DISTRICT JUDGE




                                                 2
